Case 5:18-cr-00258-EJD Document 1722-2 Filed 01/23/23 Page 1 of 4




                 EXHIBIT 1
                Case 5:18-cr-00258-EJD Document 1722-2 Filed 01/23/23 Page 2 of 4


Trefz, Katherine

From:                Schenk, Jeffrey (USACAN) <Jeffrey.B.Schenk@usdoj.gov>
Sent:                Monday, January 24, 2022 1:58 PM
To:                  Wade, Lance
Cc:                  Trefz, Katherine
Subject:             RE: [EXTERNAL] RE: Holmes - international travel


Thank you again for the background information, confirmation, and for addressing this situation quickly. I do not believe
there is need for us to discuss this further, but I will certainly be in touch if that changes, and please feel free to reach
out if you disagree.

Regards,
Jeff

‐‐‐‐‐Original Message‐‐‐‐‐
From: Wade, Lance <LWade@wc.com>
Sent: Monday, January 24, 2022 9:21 AM
To: Schenk, Jeffrey (USACAN) <JSchenk@usa.doj.gov>
Cc: Trefz, Katherine <KTrefz@wc.com>
Subject: RE: [EXTERNAL] RE: Holmes ‐ international travel

Jeff:

Here is some additional information. I am happy to provide anything else that would be helpful for you.

1. The January 26, 2022 Alaska Airlines flight from San Jose to Puerto Vallarta/Riviera Nayarit, Mexico was booked in
late December, before the verdict, by William Evans for himself and Ms. Holmes. The purpose was to attend a wedding
of friends that is to take place there later this week.

2. After the verdict, Ms. Holmes decided not to make the trip, and therefore not to seek permission to travel
internationally. Nor did she seek access to her passport, which the Court currently has in its custody. I also note that
the passport is expired, so it would need to be renewed. There have been no efforts to renew the passport.

3. The original direct flight to Mexico was cancelled by the airline and automatically rebooked to a two‐leg flight
through San Diego. There was no attempt to rebook Ms. Holmes' flight because she never intended to make the trip.

4. After your message last night, Mr. Evans worked to cancel Ms. Holmes' flight. It was actually difficult to get a
representative on the phone, so it was done via a chat function. A copy of the chats with the Alaska Airline
representative confirming the cancellation is attached. The airline does not provide a written confirmation of the
cancellation until it processes the refund, which can take up to 7 days. We can provide that documentation after it is
processed.

5. Ms. Holmes has an exemplary record of notifying PTS of trips she actually intends to take. No notice was provided of
this trip because she made the decision after the verdict to not make the trip.

I hope this addresses any concerns you may have. I am happy to talk and provide additional information if it would be
helpful. We apologize that this booking and issues related to it were not handled better in the first instance, and we will
take steps to ensure that no similar situations occur going forward.


                                                              1
                 Case 5:18-cr-00258-EJD Document 1722-2 Filed 01/23/23 Page 3 of 4

Thanks.

‐‐Lance


‐‐‐‐‐Original Message‐‐‐‐‐
From: Schenk, Jeffrey (USACAN) <Jeffrey.B.Schenk@usdoj.gov>
Sent: Sunday, January 23, 2022 9:28 PM
To: Wade, Lance <LWade@wc.com>
Cc: Trefz, Katherine <KTrefz@wc.com>
Subject: Re: [EXTERNAL] RE: Holmes ‐ international travel

Thank you very much for providing that information. I suspected there was an explanation, and I look forward to
receiving additional information tomorrow.

Jeff

> On Jan 23, 2022, at 5:19 PM, Wade, Lance <LWade@wc.com> wrote:
>
> Jeff:
>
> Thanks for raising this with us. I will gather all of the details and provide the specifics tomorrow. In general, this was a
reservation that was made before the verdict. The hope was that the verdict would be different and Ms. Holmes would
be able to make this trip to attend the wedding of close friends in Mexico. Given the verdict, she does not plan to take
the trip — and therefore did not provide notice, seek permission, or request access to her passport (which the
government has) for the trip. But she also had not yet cancelled the trip, amidst everything that has been going on. We
will have her do so promptly and will provide you confirmation of that tomorrow. I will provide additional specific
information tomorrow am as well, but feel free to call me with questions.
>
> Thanks.
>
> —Lance
>
>
>
> From: Schenk, Jeffrey (USACAN) <Jeffrey.B.Schenk@usdoj.gov<mailto:Jeffrey.B.Schenk@usdoj.gov>>
> Date: Sunday, Jan 23, 2022, 7:45 PM
> To: Wade, Lance <LWade@wc.com<mailto:LWade@wc.com>>
> Cc: Trefz, Katherine <KTrefz@wc.com<mailto:KTrefz@wc.com>>
> Subject: Holmes ‐ international travel
>
> Lance,
>
> Recently, the government became aware that Ms. Holmes has a reservation for international air travel, scheduled to
depart in the next few days. Ms. Holmes did not provide the government notice of this travel, nor obtain approval from
the Court. In light of her current bail conditions, we find this concerning. We chose to bring this information directly to
your attention, with the hope that by 11am PST tomorrow (Monday, 1/24), you could provide proof that the
international portion of her 1/26 travel reservation has been cancelled.
>
> Separately, we are considering asking the Court to schedule a bail review hearing to discuss this issue. Before we do
that, and to help us evaluate the seriousness of this action, we are hoping you could provide an explanation for this


                                                               2
                Case 5:18-cr-00258-EJD Document 1722-2 Filed 01/23/23 Page 4 of 4

conduct. We assume Ms. Holmes remains aware of her release conditions. Nevertheless, we would appreciate any
context you can provide as we assess the need for Court involvement.
>
> Regards,
> Jeff
>
>
> ________________________________
>
> This message and any attachments are intended only for the addressee and may contain information that is privileged
and confidential. If you have received this message in error, please do not read, use, copy, distribute, or disclose the
contents of the message and any attachments. Instead, please delete the message and any attachments and notify the
sender immediately. Thank you.
>




                                                            3
